        Case 24-80035-swe11                       Doc 1     Filed 02/25/24 Entered 02/25/24 22:33:21                               Desc Main
                                                           Document     Page 1 of 17
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________
 Northern             District of Texas
                                  _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                           11
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________
                                              Cottonwood Financial Ltd.



 2.   All other names debtor used             ______________________________________________________________________________________________________
                                              Cash Store®
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___
                                               7 ___
                                                  5 – ___
                                                       2 ___
                                                          6 ___
                                                             7 ___
                                                                1 ___
                                                                   0 ___
                                                                      0 ___
                                                                         1
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              2100 W. Walnut Hill Lane
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 300
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Irving                      TX     75038
                                              ______________________________________________             _______________________________________________
                                              City                        State  ZIP Code                City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________
                                              www.cashstore.com




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
         Case 24-80035-swe11                 Doc 1       Filed 02/25/24 Entered 02/25/24 22:33:21                               Desc Main
                                                        Document     Page 2 of 17
Debtor        _______________________________________________________
              Cottonwood  Financial Ltd.                                                    Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
                                          ✓ Partnership (excluding LLP)

                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✓ None of the above




                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              5 ___
                                                 2 ___
                                                    2 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✓ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 24-80035-swe11                Doc 1      Filed 02/25/24 Entered 02/25/24 22:33:21                                  Desc Main
                                                      Document     Page 3 of 17
Debtor         _______________________________________________________
               Cottonwood  Financial Ltd.                                                   Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        
                                         ✓ No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an             
                                         ✓ Yes. Debtor _____________________________________________
                                                       See Schedule 1                                Relationship _________________________
                                                                                                                  Affiliate
      affiliate of the debtor?                     District _____________________________________________
                                                            Northern District of Texas                    When               __________________
                                                                                                                             02/25/2024
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         
                                         ✓ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         
                                         ✓ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.




 12. Does the debtor own or have         
                                         ✓ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______   ________________
                                                                            City                                            State     ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
         Case 24-80035-swe11                 Doc 1        Filed 02/25/24 Entered 02/25/24 22:33:21                                  Desc Main
                                                         Document     Page 4 of 17
Debtor      _______________________________________________________
            Cottonwood  Financial Ltd.                                                          Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                         
                                         ✓ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




                                         
                                         ✓ 1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                         
                                         ✓ $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             ✓ $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on _________________
                                                         02/25/2024
                                                         MM / DD / YYYY


                                            _____________________________________________
                                             /s/ Karen G. Nicolaou                                       _______________________________________________
                                                                                                         Karen G. Nicolaou
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                   Chief Restructuring Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
         Case 24-80035-swe11             Doc 1      Filed 02/25/24 Entered 02/25/24 22:33:21                                  Desc Main
                                                   Document     Page 5 of 17
Debtor      _______________________________________________________
            Cottonwood  Financial Ltd.                                                  Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         _____________________________________________
                                          /s/ Lydia R. Webb                                        Date          _________________
                                                                                                                 02/25/2024
                                          Signature of attorney for debtor                                       MM   / DD / YYYY



                                         _________________________________________________________________________________________________
                                         Lydia R. Webb
                                         Printed name

                                         _________________________________________________________________________________________________
                                         Gray Reed
                                         Firm name

                                         _________________________________________________________________________________________________
                                         1601 Elm Street Suite 4600
                                         Number         Street

                                         ____________________________________________________
                                         Dallas                                                          ____________ 75201
                                                                                                         TX           ______________________________
                                         City                                                            State         ZIP Code

                                         ____________________________________
                                         (469) 320-6111                                                  __________________________________________
                                                                                                         lwebb@grayreed.com
                                         Contact phone                                                   Email address



                                         ______________________________________________________ Texas
                                         24083758                                               ____________
                                         Bar number                                                      State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
Case 24-80035-swe11           Doc 1      Filed 02/25/24 Entered 02/25/24 22:33:21             Desc Main
                                        Document     Page 6 of 17
                                              Schedule 1

               Pending Bankruptcy Cases Filed by Debtor and Affiliates of Debtor
                   Schedule 1 - sub 1
                On the date hereof, each of the affiliated entities listed below, including the debtor in
this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the Northern District of Texas (the
“Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
entities listed below be consolidated for procedural purposes only and jointly administered,
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
assigned to the chapter 11 case of Cottonwood Financial Ltd.




                                        Debtor                                         Tax ID #
     1      Cottonwood Financial Administrative Service LLC                           XX-XXXXXXX
     2      Cottonwood Financial Idaho LLC                                            XX-XXXXXXX
     3      Cottonwood Financial Ltd.                                                 XX-XXXXXXX
     4      Cottonwood Financial Texas LLC                                            XX-XXXXXXX
     5      Cottonwood Financial Wisconsin LLC                                        XX-XXXXXXX




                                           Schedule 1 - Page 1
Case 24-80035-swe11        Doc 1    Filed 02/25/24 Entered 02/25/24 22:33:21             Desc Main
                                   Document     Page 7 of 17



                      WRITTEN CONSENT IN LIEU OF A MEETING
                              OF THE PARTNERS OF
                          COTTONWOOD FINANCIAL LTD.

                                        February 25, 2024

        The undersigned sole general partner (the “General Partner”) and undersigned limited
partners (the “Limited Partners”, and together with the General Partner, the “Partners”) of
Cottonwood Financial Ltd., a Texas limited partnership (the “Partnership”), in lieu of holding a
meeting of the Partners, do hereby consent to the adoption of, and do hereby adopt, by written
consent, in accordance with the requirements of the Texas Limited Partnership Act, Chapter 153
of the Texas Business Organizations Code and the Partnership’s Amended and Restated Limited
Partnership Agreement (the “Partnership Agreement”), the following preambles and resolutions
(the “Resolutions”) and declares them to be in full force and effect as if they were adopted at a
regularly scheduled meeting of the Member duly called, noticed and held:

        WHEREAS, the Partnership is the sole member of (i) Cottonwood Financial
Administrative Services, LLC, a Delaware limited liability company (“Cottonwood FAS”), (ii)
Cottonwood Financial Texas, LLC, a Delaware limited liability company (“Cottonwood Texas”),
(iii) Cottonwood Financial Idaho, LLC, a Delaware limited liability company (“Cottonwood
Idaho”), and (iv) Cottonwood Financial Wisconsin, LLC, a Delaware limited liability company
(“Cottonwood Wisconsin” and together with Cottonwood FAS, Cottonwood Texas and
Cottonwood Idaho, each a “Company” and collectively, the “Companies”);

        WHEREAS, the following Resolutions are being adopted by the Partners in the name of
and on behalf of the Partnership, acting in its own capacity and in its capacity as the sole member
of each of the Companies (such capacities, or to the extent applicable, any subset thereof, being
referred to herein as the “Applicable Capacities”);

        WHEREAS, it has been proposed that the Partnership and the Companies file a voluntary
petition for relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”); and

        WHEREAS, in the opinion of the Partners, in their Applicable Capacities, it is in the best
interest of the Partnership and each Company to file a voluntary petition for relief under the
provisions of chapter 11 of the Bankruptcy Code.

       NOW, THEREFORE, BE IT RESOLVED, that, in the good faith exercise of reasonable
business judgment of the Partners, it is desirable and in the best interests of the Partnership and
each Company, their creditors, partners, stockholders, and other interested parties that the
Partnership and each Company shall be and hereby are authorized to file or cause to be filed a
voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy Code;

       RESOLVED, that the General Partner, as an authorized signatory for the Partnership and
each Company, and Karen Nicolaou (each, an “Authorized Signatory”), be and hereby are
authorized, empowered, and directed, to execute, file, or cause to be filed, deliver, and verify any
and all voluntary petitions and amendments thereto under chapter 11 of the Bankruptcy Code



4894-9504-2975
Case 24-80035-swe11        Doc 1    Filed 02/25/24 Entered 02/25/24 22:33:21             Desc Main
                                   Document     Page 8 of 17



(the “Chapter 11 Cases”), to cause the same to be filed in a court of proper jurisdiction (the
“Bankruptcy Court”), and to execute and file or cause to be filed with the Bankruptcy Court all
petitions, schedules, lists and other motions, applications, papers, or documents, and to take any
and all action necessary or proper to successfully prosecute the Chapter 11 Cases or to obtain
necessary relief;

         RESOLVED, that Section 10.1 of the Partnership Agreement shall not apply to and is
hereby waived with respect to the filing of the Chapter 11 Cases or the sale of all or substantially
all of the assets of the Partnership in the Chapter 11 Cases, such that the Partnership shall not be
terminated and dissolved as a result of the Chapter 11 Cases or the sale of all or substantially all
of the assets of the Partnership in the Chapter 11 Cases;

         RESOLVED, that the law firm of Gray Reed & McGraw LLP (“Gray Reed”) be and
hereby is employed as bankruptcy counsel to represent the Partnership and each Company and
assist the Partnership and each Company in carrying out their duties under the Bankruptcy Code,
and to take any and all actions to advance the Partnership’s and each Company’s rights and
obligations; and in connection therewith, the Authorized Signatory, with power of delegation, is
hereby authorized and directed to execute appropriate agreements, pay appropriate retainers, and
cause to be filed appropriate applications for authority to retain Gray Reed’s services;

        RESOLVED, that HMP Advisory Holdings, LLC d/b/a Harney Partners (“Harney
Partners”) be and hereby is employed to provide the Partnership and each Company with a Chief
Restructuring Officer (“CRO”), who shall be Karen Nicolaou, and such other personnel as may
be necessary or appropriate to assist the CRO, provide financial advisory services, and otherwise
to represent and assist the Partnership and each Company in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Partnership’s and each
Company’s rights and obligations; and in connection therewith, the Authorized Signatory, with
power of delegation, is hereby authorized and directed to execute appropriate agreements, pay
appropriate retainers, and cause to be filed appropriate applications for authority to retain Harney
Partners’ services;

        RESOLVED, that the Authorized Signatory, and any employees or agents (including
counsel) designated by or directed by the Authorized Signatory (each such designee an
“Authorized Designee,” and collectively, the “Authorized Designees,” and together with the
Authorized Signatory, the “Authorized Persons”), be, and each hereby is, authorized and directed
to employ any other professionals to assist the Partnership and each Company in carrying out
their duties under the Bankruptcy Code; and in connection therewith, the Authorized Persons,
with power of delegation, are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed appropriate applications for
authority to retain the services of any other professionals as necessary;

        RESOLVED, that, in connection with the commencement of the Chapter 11 Cases, the
Authorized Persons are authorized, empowered and directed to (a) borrow and/or receive funds
from and undertake any and all related transactions contemplated thereby, including but not
limited to seeking approval of a debtor in possession financing order in interim and final form
(collectively, the “Financing Transactions”), (b) negotiate, execute, and deliver any and all
agreements, instruments, or documents, including without limitation, a debtor in possession


                                                 2
4894-9504-2975
Case 24-80035-swe11       Doc 1    Filed 02/25/24 Entered 02/25/24 22:33:21          Desc Main
                                  Document     Page 9 of 17



financing agreement or a cash collateral agreement, with any party, including existing lenders
and sureties, on such terms as may be approved by the Authorized Persons as reasonably
necessary for the continuing conduct of affairs of the Partnership and each Company, (c) pay
related fees and grant security interests in and liens on some, all, or substantially all of the
Partnership’s or any Company’s assets, as may be deemed necessary by the Authorized Persons,
in connection with such borrowings, and (d) initiate and consummate a sale of all, substantially
all, or part of the Partnership’s or any Company’s assets through the Chapter 11 Cases;

        RESOLVED, that in addition to the specific authorizations previously conferred upon the
Authorized Persons, the Authorized Persons are authorized and empowered, in the name of and
on behalf of the Partnership and each Company, to take or cause to be taken any and all such
other and further action, and to execute, acknowledge and deliver any and all such agreements,
certificates, instruments, and other documents as may be necessary, advisable, or desirable to
fully carry out and accomplish the purposes of these Resolutions;

       RESOLVED, that any and all past actions taken by the Authorized Persons in the name
and on behalf of the Partnership or any Company in furtherance of any or all of the preceding
Resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects; and

       RESOLVED, that these Resolutions may be executed by some or all of the parties hereto
on separate counterparts, all of which together shall constitute one and the same instrument.

                         [Remainder of Page Intentionally Left Blank]




                                               3
4894-9504-2975
Case 24-80035-swe11    Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21       Desc Main
                            Document     Page 10 of 17


        IN WITNESS WHEREOF, the undersigned have executed these Resolutions to be
effective as of the date first written above.


                                           General Partner:

                                           Cottonwood Financial Management, Inc.


                                           By: �L�
                                           Name: Trevor L. Ahlberg
                                           Title: President


                                           Limited Partners:

                                               •

                                           Darcy L. Ribman, Trustee of the Darcy L.
                                           Ribman 2001 Trust u/a/d October 29, 2001



                                           Trevor L. Ahlberg, Trustee of th Trevor L.
                                           Ahlberg 2001 Trust u/a/d Octob r 29, 2001



                                           Darcy L. Ribman, Trustee of the Darcy L.
                                           Ribman 1997 Trust u/a/d January 1, 1997



                                           Trevor L. Ahlberg, Trustee of the evor L.
                                           Ahlberg 1997 Trust u/a/d January , 1997




4894-9504-2975
Case 24-80035-swe11    Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21        Desc Main
                            Document     Page 11 of 17



         IN WITNESS WHEREOF, the undersigned have executed these Resolutions to be
 effective as of the date first written above.


                                            General Partner:

                                            Cottonwood Financial Management, Inc.


                                            By:-----------­
                                            Name: Trevor L. Ahlberg
                                            Title: President


                                            Limited Partners:



                                            Darcy L.     an, Trustee of the Darcy L.
                                            Ribman 2001 Trust u/a/d October 29, 2001




                                            Trevor L. Ahlberg, Trustee of the Trevor L.
                                            Ahlberg 2001 Trust u/a/d October 29, 2001




                                            Darcy L. Ri     , Trustee of the Darcy L.
                                            Ribman 1997 Trust u/a/d January 1, 1997




                                            Trevor L. Ahlberg, Trustee of the Trevor L.
                                            Ahlberg 1997 Trust u/a/d January 1, 1997




4894-9504-2975
               Case 24-80035-swe11                      Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21                                          Desc Main
                                                             Document     Page 12 of 17

      Fill in this information to Identify the case:

      Debtor Name: Cottonwood Financial Ltd.
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Northern District of Texas                                                amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       TRANS UNION LLC                     CONTACT: DANE MAULDIN, TRADE DEBT                                                                                    $421,725.95
          555 W ADAMS ST                      CFO
          CHICAGO, IL 60661                   PHONE: (312) 985-2000.
                                              DMAULDIN@TRANSUNION.C
                                              OM
  2       GOOGLE INC                          CONTACT: JUSTIN MEEK,           TRADE DEBT                                                                           $364,158.89
          1600 AMPHITHEATRE PARKWAY           FINANCE DIR.
          MOUNTAIN VIEW, CA 94043             PHONE: (650) 253-0000
                                              JCMEEK@GOOGLE.COM
  3       VERGENT LMS INC                     CONTACT: LISA FREEZE            TRADE DEBT                                                                           $231,157.58
          403 LEGACY PARK                     PHONE: (601) 919-2275
          RIDGELAND, MS 39157                 SALES@VERGENTLMS.COM
  4       RING CENTRAL INC                    CONTACT: JOHN MARLOW            TRADE DEBT                                                                           $216,571.41
          20 DAVIS DR                         PHONE: (844) 713 8258
          BELMONT, CA 94002                   PARTNERS@RINGCENTRAL.C
                                              OM
  5       NETFORTRIS ACQUISITION CO INC       CONTACT: GRANT EVANS    TRADE DEBT                                                                                   $195,934.50
          5340 LEGACY DRIVE                   PHONE: (877) 366-2548
          PLANO, TX 75024                     GRANT.EVANS@NETFORTIS.C
                                              OM
  6       TELETRACK                           CONTACT: JOHN J. KELLEY III     TRADE DEBT                                                                           $154,235.60
          5550-A PEACHTREE PARKWAY            PHONE: (877) 309-5226
          NORCROSS, GA 30092
  7       EXPERIAN INFORMATION                CONTACT: CRAIG BOUNDY           TRADE DEBT                                                                           $147,829.27
          SOLUTIONS                           PHONE: (714) 830-7000
          475 ANTON BLVD                      CRAIG.BOUNDY@EXPERIAN.
          COSTA MESA, CA 92626                COM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
             Case 24-80035-swe11                 Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21                                        Desc Main
  Debtor: Cottonwood Financial Ltd.                   Document     Page 13 of 17Number (if known):
                                                                           Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  8     MOTIVITY LABS INC                  CONTACT: JOSEPH SUDHEER   TRADE DEBT                                                                           $127,496.00
        222 W LAS COLINAS BLVD             REDDY THUMMA
        STE 755E                           PHONE: (214) 519-1719
        IRVING, TX 75039                   INFO@MOTIVITYLABS.COM
  9     ICS CORPORATION                    CONTACT: MATT MAZZONI     TRADE DEBT                                                                           $108,019.10
        100 FRIARS BLVD                    PHONE: (215) 427-4355
        WEST DEPTFORD, NJ 08086            MMAZZONI@ICS-
                                           CORPORATION.COM
  10    LEXISNEXIS RISK DATA MANAGEMEN CONTACT: MIKE WALSH           TRADE DEBT                                                                           $106,592.15
        6601 PARK OF COMMERCE BLVD     PHONE: (800) 543-6862
        BOCA RATON, FL 33487           INFORMATION@LEXISNEXIS.
                                       COM
  11    KOHN LAW FIRM S.C                  CONTACT: JASON D.         TRADE DEBT                                                                             $86,890.50
        735 N. WATER ST., SUITE 1300       HERMERSMAN
        MILWAUKEE, WI 53202                PHONE: (414) 276-0435
                                           JASON@KOHNLAW.COM
  12    MICROSOFT CORPORATION              CONTACT: AMY HOOD         TRADE DEBT                                                                             $84,951.98
        ONE MICROSOFT WAY                  MSFT@MICROSOFT.COM
        REDMOND, CA 98052
  13    CCI-COTTONWOOD LP                  CONTACT: PAUL D.      TRADE DEBT                                                                                 $75,822.75
        500 N CAPITAL OF TEXAS HWY         AGARWAL
        BLDG 1 STE 200                     PHONE: (512) 628-2769
        AUSTIN, TX 78746                   DAGARWAL@CAPITALCOMM
                                           ERCIAL.COM
  14    THE STEWART ORGANIZATION INC       CONTACT: SARA MOSS        TRADE DEBT                                                                             $65,240.34
        2300 GATEWAY DR                    PHONE: (713) 973-5528
        IRVING, TX 75063                   SARA.MOSS@STEWARTORG.
                                           COM
  15    FRESHWORKS INC                     CONTACT: PAM SERGEEFF     TRADE DEBT                                                                             $58,958.34
        2950 S DELAWARE ST                 PHONE: 855747-6767
        STE 201                            PAM.SERGEEFF@FRESHWOR
        SAN MATEO, CA 94403                KS.COM
  16    FRINGE BENEFIT GROUP INC           CONTACT: JOHN MALNAR      TRADE DEBT                                                                             $56,613.69
        11910 ANDERSON MILL RD             PHONE: 800662-6177
        AUSTIN, TX 78726-1113              JMALNAR@FBG.COM
  17    REPAIR NOW LLC                     CONTACT: TIM BOLEYN       TRADE DEBT                                                                             $51,065.42
        5202 GULFPORT DR                   PHONE: (214) 668-5985
        GARLAND, TX 75043                  TIMBOLEYN65@YAHOO.CO
                                           M
  18    MICROBILT CORPORATION              CONTACT: WALTER           TRADE DEBT                                                                             $50,145.83
        1640 AIRPORT RD, STE 115           WOJCIECHOWSKI
        KENNESAW, GA 30144                 PHONE: 800884-4747
  19    ID PROS                            CONTACT: DONNA            TRADE DEBT                                                                             $47,455.15
        3021 RIDGE RD                      LUKENBILL
        STE 292                            PHONE: (512) 576-1117
        ROCKWALL, TX 75032                 DONNA@IDPROS.NET
  20    PROTECTION ONE ALARM               CONTACT: MARK BRIGGER     TRADE DEBT                                                                             $39,689.02
        MONITORING, INC.                   PHONE: (214) 277-7031
        1035 N 3RD STREET, STE 101         MBRIGGER@ADT.COM
        LAWRENCE, KS 68044




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
             Case 24-80035-swe11                 Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21                                        Desc Main
  Debtor: Cottonwood Financial Ltd.                   Document     Page 14 of 17Number (if known):
                                                                           Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  21    CDW COMPUTER CENTER INC            CONTACT: CHRISTINE A      TRADE DEBT                                                                             $39,042.41
        200 N MILWAUKEE AVE                LEAHY
        VERNON HILLS, IL 60061             PHONE: 847371-6090
                                           CHRIS.LEAHY@CDW.COM
  22    FUGITT INVESTMENTS LLC             CONTACT: JAMES W FUGITT   TRADE DEBT                                                                             $35,390.00
        P.O. BOX 1204                      PHONE: 469235-0305
        COLLEYVILLE, TX 76034
  23    TSD SERVICES LTD                   CONTACT: GERMAN           TRADE DEBT                                                                             $33,181.68
        51 G.S. RAKOVSKI STREET            GACHEVSKI
        4TH FLOOR                          PHONE: +359 2 437 2032
        TROYAN 5600                        OFFICE@TSDSERVICES.COM
        BULGARIA
  24    RESOLVION                          CONTACT: BILL GREEN       TRADE DEBT                                                                             $30,841.12
        10815 DAVID TAYLOR DRIVE, SUITE    PHONE: 866606-7007
        250                                BILL.GREEN@RESOLVION.CO
        CHARLOTTE, NC 28262                M
  25    STAPLES INC                        CONTACT: LORI WHITE       TRADE DEBT                                                                             $25,496.80
        500 STAPLES DR                     PHONE: (888) 438-4773
        FRAMINGHAM, MA 01702               LORI.WHITE@STAPLES.COM
  26    NEC FINANCIAL SERVICES LLC         CONTACT: HERSCHEL SALAN   TRADE DEBT                                                                             $23,050.50
        250 PEHLE AVENUE                   PHONE: (800) 451-5361
        SUITE 203                          HERSCHEL.SALAN@NECLEAS
        SADDLE BROOK, NJ 07663-5806        E.COM
  27    MICROSOFT ONLINE INC               CONTACT: KRISTEN BRYAN TRADE DEBT                                                                                $19,103.84
        6100 NEIL ROAD, SUITE 100          COMSTRAT@MICROSOFT.CO
        RENO, NV 89511                     M
  28    ACCESS INFORMATION HOLDINGS        CONTACT: MELISSA KOLDZIEJ TRADE DEBT                                                                             $18,887.69
        LLC                                PHONE: 925461-5352
        DBA ACCESS INFORMATION             MELISSA.KOLODZIEJ@ACCES
        PROTECTED                          SCORP.COM
        6818 PATTERSON PASS RD SUITE A
        LIVERMORE, CA 94550
  29    CAREER BUILDER LLC                 CONTACT: JEFF FURMAN      TRADE DEBT                                                                             $17,512.29
        13047 COLLECTION CENTER DR         JEFF.FURMAN@CAREERBUIL
        CHICAGO, IL 60693                  DER.COM
  30    SOLUTIONS BY TEXT LLC              CONTACT: DAVID BAXTER  TRADE DEBT                                                                                $16,237.50
        15455 DALLAS PARKWAY               PHONE: (800) 979-1212
        SUITE 600                          DBAXTER@SOLUTIONSBYTEX
        DALLAS, TX 75001                   T.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 3
    Case 24-80035-swe11       Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21         Desc Main
                                   Document     Page 15 of 17
                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS


        In re:                                                    Chapter 11

        COTTONWOOD FINANCIAL LTD.,                                Case No.


                                                 Debtor.

                     LIST OF EQUITY SECURITY HOLDERS
                Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy
      Procedure, the following are the debtor’s equity security holders:


Name and Address of Equity Holders               Kind/Class of Interest Percentage of Equity Held
Darcy Lynn Ribman 1997 Trust                        Limited Partner             30.493%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Trevor Lee Ahlberg 1997 Trust                        Limited Partner            30.493%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Trevor Lee Ahlberg 2001 Trust                        Limited Partner            24.614%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Darcy Lynn Ribman 2001 Trust                         Limited Partner            8.382%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Cargill Lakes Partners, Ltd.                         Limited Partner            1.801%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038




¹




                                      List of Equity Holders - Page 1
    Case 24-80035-swe11       Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21 Desc Main
                                    Document    Page 16 of 17
Vince Ackerson                                   Limited Partner          1.801%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Gateway Financial LLC                                Limited Partner    1.393%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038
Cottonwood Financial Mgmt., Inc.                     General Partner    1.025%
2100 W. Walnut Hill Lane, Suite 300
Irving, TX 75038




¹




                                      List of Equity Holders - Page 2
        Case 24-80035-swe11                    Doc 1 Filed 02/25/24 Entered 02/25/24 22:33:21                                    Desc Main
                                                    Document     Page 17 of 17
 Fill in this information to identify the case and this filing:


             Cottonwood Financial Ltd.
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: Northern                           Texas
                                         ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ✓ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✓                                            List of Equity Security Holders
           Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    02/25/2024
        Executed on ______________                            /s/ Karen G. Nicolaou
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Karen G. Nicolaou
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
